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18
                        UNITED STATES DISTRICT COURT
19                     CENTRAL DISTRICT OF CALIFORNIA
                              EASTERN DIVISION
20
      SLEEP NUMBER CORPORATION,                 Case No. 5:18–cv–00356 AB (SPx)
21
                  Plaintiff,
22                                               JOINT SCHEDULING
            v.                                   CONFERENCE REPORT
23                                               [RULE 26(f) REPORT]
      SIZEWISE RENTALS LLC,
24                                               Date/Time: July 6, 2018; 10:00 a.m.
                  Defendant.                     Hon. André Birotte Jr., Courtroom 7B
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 1         Plaintiff SLEEP NUMBER CORPORATION (“Plaintiff”), and Defendant
 2   SIZEWISE RENTALS LLC (“Defendant”) (collectively “the Parties”), hereby
 3   submit their Joint Scheduling Conference Report pursuant to the Court’s Order
 4   Setting Scheduling Conference (Dkt. 36), Rule 26(f) of the Federal Rules of Civil
 5   Procedure, and Local Rule 26-1. The Parties’ meeting of counsel was conducted
 6   telephonically on June 12, 2018, and was attended by Elizabeth Patton of Fox
 7   Rothschild LLP on behalf of Plaintiff and Jaspal Hare and Kyle Elliott of Spencer
 8   Fane LLP on behalf of Defendant. The following section headings, identified in the
 9   Court’s Order Setting Scheduling Conference (Dkt. 36), provide a summary of the
10   Parties’ respective views of the case.
11                                  RULE 26(F) TOPICS
12         A.     Statement of the Case
13         By Plaintiff:
14         Plaintiff filed its complaint on February 20, 2018, and, following the filing
15   of Defendant’s motion to dismiss, filed its first amended complaint on March 23,
16   2018, asserting claims of (1) infringement of U.S. Patent No. 5,904,172, (2)
17   infringement of U.S. Patent No. 9,737,154, and (3) infringement of U.S. Patent No.
18   8,769,747 (collectively, the “patents-in-suit”). Plaintiff seeks damages with
19   respect to the infringement of all three patents and seeks injunctive relief with
20   respect to the infringement of the latter two patents.
21         Plaintiff is in the business of designing, manufacturing, and selling
22   adjustable air mattress systems, most notably the Sleep Number® bed, and
23   components thereof. Defendant is in the business of, among other things,
24   manufacturing and selling consumer and medical air bed systems. Plaintiff owns a
25   number of patents, including the patents-in-suit. The technology at issue relates to
26   systems and methods for adjusting the pressure in an air mattress system, and
27   components thereof. Defendant sells air mattress systems that include assembly
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 1   components such as an air bladder(s) and an air controller, including but not
 2   limited to the Platinum 5000 and Platinum 6000 air controllers, which infringe all
 3   three of the patents-in-suit. Notably, the International Trade Commission has
 4   already determined that Defendant infringes two claims of U.S. Patent No.
 5   5,904,172.
 6            By Defendant:
 7           Defendant Sizewise Rentals, L.L.C. is a leading manufacturer and distributor
 8   of hospital equipment. It offers bed frames, support surfaces, mobility items,
 9   healthcare furniture, and product accessories. Defendant has a facility in Lenexa,
10   Kansas and operates state of the art manufacturing and distribution facilities in and
11   around Kansas. Defendant wholly owns American National Manufacturing, Inc.,
12   based in Corona, California, whose is named defendant in a co-pending related
13   case.
14           Because Defendant has filed a motion to dismiss for failure to state a claim
15   (described below), Defendant has not yet filed an answer asserting affirmative
16   defenses or counterclaims. To the extent this case goes forward, Defendant intends
17   to assert affirmative defenses and counterclaims of noninfringement, invalidity,
18   and unenforceability, among others things.
19           B.    Subject Matter Jurisdiction
20           This Court has jurisdiction over the subject matter of this action pursuant to
21   28 U.S.C. §§ 1331 and 1338(a). Plaintiff brought this action under 35 U.S.C. §
22   271 et seq.
23           C.    Legal Issues
24           The Parties believe the key legal issues are (1) the validity and enforceability
25   of the patents-in-suit; (2) whether Defendant’s accused products infringe any of the
26   patents-in-suit; (3) if so, whether that infringement was willful; (4) if so, the extent
27   of Plaintiff’s damages; and (5) if so, the appropriate scope of an injunction.
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 1           D.    Parties, Evidence, etc.
 2           The Plaintiff is SLEEP NUMBER CORPORATION, which is a publicly
 3   held corporation. It has no parent corporation, and no publicly held corporation
 4   owns 10% or more of its stock.
 5           The Defendant is SIZEWISE RENTALS, L.L.C., which is not a publicly
 6   traded company. No publicly-held corporation owns 10% or more of its stock.
 7           The percipient witnesses include representatives of the parties, inventors,
 8   third parties with information related to the alleged infringement, validity and/or
 9   enforceability of the patents-in-suit, and expert witnesses on the issues of
10   infringement, validity, and damages.
11           The key documents on the main issues in the case will be the patents-in-suit,
12   documents related to Defendant’s accused products, documents and things related
13   to the alleged infringement, invalidity, and enforceability of the patents-in-suit,
14   documents related to the parties’ respective businesses, and documents related to
15   the issues of damages and willfulness.
16           E.    Damages
17           Plaintiff does not currently have the benefit of discovery regarding the
18   appropriate method and measure of damages or the extent of Defendant’s
19   infringing sales. Based upon limited information known to date, Plaintiff believes
20   the realistic range of damages is in excess of millions of dollars.
21           Defendant disagrees that Plaintiff is entitled to any damages on its claims.
22           F.    Insurance
23           None of the Parties are aware of any insurance coverage applicable to this
24   case.
25           G.    Motions
26           Following the filing of Defendant’s first motion to dismiss, Plaintiff filed its
27   first amended complaint on March 23, 2018. After the Court found Defendant’s
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 1   motion moot, Defendant filed a renewed motion to dismiss on April 6, 2018 (Dkt.
 2   43). Plaintiff opposed that motion. This motion is fully briefed and has been taken
 3   under submission without oral argument (Dkt. 59).
 4         Additionally, Defendant filed a motion for attorneys’ fees under Rule 41(d),
 5   and for a stay until those fees have been paid (Dkt. 45). It is Defendant’s position
 6   that the motion is proper as Plaintiff had filed an identical case in the Northern
 7   District of Texas, which Plaintiff voluntarily dismissed after Defendant informed
 8   Plaintiff that it intended to challenge venue. Plaintiff opposed that motion, for the
 9   reasons set forth in its briefing. This motion is fully briefed and has been taken
10   under submission without oral argument (Dkt. 59).
11         Defendant has also served on Plaintiff a letter that challenges the Rule 11
12   basis for Plaintiff’s claim of infringement with respect to the ’154 and ’747
13   patents. It is Defendant’s position that, to date, Plaintiff has failed to sufficiently
14   respond and identify a proper Rule 11 basis and has not withdrawn those claims. It
15   is Plaintiff’s position that Plaintiff has provided an expert declaration addressing
16   this issue. However, Defendant believes that this issue may result in motion
17   practice.
18         Defendant also intends to file petitions for inter partes review (“IPR”) to
19   challenge the validity of claims of the patent-in-suit. Defendant may file a motion
20   to stay pending the resolution of any IPR proceeding. Plaintiff may oppose that
21   motion.
22         Other than those motions, the parties do not anticipate any motions to add
23   parties or claims at this time.
24         H.     Dispositive Motions
25         Both parties may file motions for summary judgment on the issues of
26   infringement, validity, enforceability, and/or damages in due course.
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 1          I.       Manual on Complex Litigation
 2          The Parties do not believe that this case requires reference to the procedures
 3   set forth in the Manual on Complex Litigation.
 4          J.       Status of Discovery
 5          In light of Defendant’s pending motions, the Parties have not yet engaged in
 6   substantial discovery. Defendant served a first set of requests for production upon
 7   Plaintiff on June 12, 2018. The Parties anticipate additional exchanges of
 8   discovery requests prior to the Court’s Scheduling Conference and will provide an
 9   update to the Court at that Conference regarding the discovery conducted through
10   that date.
11          K.       Discovery Plan
12                   1.     Initial Disclosures
13          The Parties intend to exchange initial disclosures on or before Friday, June
14   29, 2018. The Parties do not anticipate any changes to the form or requirement of
15   such disclosures.
16                   2.     Subjects on Which Discovery May Be Needed
17          The Parties will take discovery on their respective claims and defenses,
18   including the issue of damages.
19          By Plaintiff:
20          Plaintiff anticipates seeking discovery via interrogatories, document
21   requests, fact depositions, and expert discovery. Plaintiff intends to seek discovery
22   on the issues identified below, which are not intended to be an exhaustive list of
23   issues for which Plaintiff may seek discovery:
24           The features, technology, specifications, and other technical aspects of
25                Defendant’s accused products—i.e. Defendant’s air mattress systems that
26                include assembly components such as an air bladder(s) and an air
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 1            controller, including but not limited to the Platinum 5000 and Platinum
 2            6000 and other versions of those air controllers.
 3          The research, design, development, testing, manufacturing, assembly,
 4            sourcing, and construction of the accused products.
 5          Defendant’s marketing, advertising, promotional materials, training, and
 6            instructions related to the accused products.
 7          Defendant’s sales of the accused products.
 8          Defendant’s costs, revenues, profits, and profit margins associated with
 9            the sale of the accused products.
10          Evidence supporting the objective indicia of non-obviousness of the
11            patents-in-suit.
12          Evidence supporting Plaintiff’s claim for damages.
13          Defendant’s knowledge of the patents-in-suit and willful infringement.
14          Expert opinions regarding infringement, validity, and damages.
15         By Defendant:
16          Defendant anticipates seeking discovery via interrogatories, document
17   requests, requests for admission, fact depositions, and expert discovery. Defendant
18   intends to seek discovery on the issues identified below, which are not intended to
19   be an exhaustive list of issues for which Defendant may seek discovery:
20          Prior art related to the subject matter of the patents-in-suit.
21          Plaintiff’s knowledge of prior art related to the subject matter of the
22            patents-in-suit.
23          Plaintiff’s knowledge of the conception and reduction to practice of the
24            subject matter of the patents-in-suit.
25          Plaintiff’s knowledge of the design, testing, first public use, first public
26            disclosure, and first offer for sale relating to the subject matter of the
27            patents-in-suit.
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 1           Prosecution of the patents-in-suit.
 2           Evidence supporting non-infringement of the patents-in-suit.
 3           Evidence supporting invalidity of the patents-in-suit.
 4           Evidence supporting unenforceability of the patents-in-suit.
 5           Evidence supporting equitable defenses.
 6           Evidence rebutting evidence Plaintiff puts forth.
 7           Evidence related to lack of damages.
 8                3.     Phased Discovery
 9          The Parties do not believe phased discovery is necessary in this case.
10                4.     Limitations on Discovery
11

12       Defendant’s Proposal: Each party may take up to 150 hours of depositions.
13       Defendant’s Brief Arguments: This is a complex patent case involving three
14       patents-in-suit. The three patents-in-suit have collectively 5 named inventors
15       and numerous attorneys of records. Such individuals have information
16       relevant to conception and reduction to practice, validity, prior art, and/or
17       inequitable conduct. In addition, numerous other third parties also possess
18       relevant information (e.g., other air mattress companies’ prior art systems).
19       Defendant seeks additional deposition time to account for increased burden of
20       third-party discovery that is typical in a complex patent case and to help avoid
21       future disputes that may require the Court’s attention.
22       Plaintiff’s Proposal and Brief Arguments: Plaintiff propose no change to the
23       default rule of 10 depositions under Rule 30. Plaintiff believe that 10
24       depositions is sufficient given the facts of the case and the three patents at
25       issue. However, to the extent the Court is inclined to grant additional
26       deposition time, Plaintiff proposes a specific number of depositions, e.g., 15,
27       inclusive of all fact and expert witnesses.
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 1         The Parties do not propose any other changes to the discovery limitations
 2   imposed by the Federal Rules of Civil Procedure or the Local Rules of this Court.
 3                5.     Issues Regarding Privilege
 4         The Parties do not anticipate any unusual issues regarding privilege and
 5   agree to adhere to Federal Rule of Civil Procedure 26 and Federal Rules of
 6   Evidence 501–502.
 7         There is no duty to disclose privileged documents or information. However,
 8   the Parties agree to log all responsive documents created before this litigation was
 9   initiated that are being withheld on the basis of attorney-client privilege, work
10   product, or any other applicable privilege. The Parties further agree that each of
11   the following categories of documents may be excluded from any privilege log:
12         (1)    information created after the filing of the complaint in the prior
13                Northern District of Texas action on December 29, 2017;
14         (2)    attorney work product and communications that includes an outside
15                attorney of record in the underlying case/proceeding, created during
16                the pendency of and relating to any of the following bulleted
17                cases/proceedings, including appeals thereof, except that information
18                relevant to Reexamination No. 90/012456 (which the Parties may
19                further define) and any original prosecution before the USPTO for a
20                patent-in-suit will be logged:
21                      Sleep Number Corp. v. Sizewise Rentals, L.L.C., C.A. No. 3:17-
22                       cv-0518 (N.D. Tex. filed Dec. 29, 2017));
23                      Sleep Number Corp. v. American National Manufacturing, Inc.,
24                       C.A. No. 3:17-cv-0517 (N.D. Tex. filed Dec. 29, 2017);
25                      Certain Air Mattress Bed Systems, Components Thereof and
26                       Methods of Using the Same, ITC Inv. No. 337-TA-971 (filed
27                       Oct. 16, 2015); or,
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 1                      Certain Air Mattress Bed Systems and Components Thereof,
 2                       ITC Inv. No. 337-TA-999 (filed Apr. 20, 2016).
 3                 6.    Electronically Stored Documents
 4          The Parties agree to collect and produce documents as described below. To
 5    the extent any responsive information is not available for production via the below-
 6    referenced protocols, the Parties shall meet and confer to determine the best
 7    method of production. The Parties shall also meet and confer in good faith
 8    regarding any other issues relating to the discovery of electronically stored
 9    information and, in the absence of agreement, shall request a scheduling
10    conference with the Court.
11          Identification of Responsive ESI: The Parties shall make a good faith effort
12    to identify all individuals or data sources, including, but not limited to, email
13    mailboxes, network based file shares, user-created content on laptop/desktop hard
14    drives, and removable media such as CD’s, DVD’s, USB or flash drives, etc., which
15    may contain relevant or responsive information. The Parties shall also make a good
16    faith effort to utilize search terms and any other culling/search criteria for the
17    purposes of appropriately filtering these ESI sources.
18          Production Specifications: The Parties shall generally produce ESI shall in
19    the following file format:
20          a.     1 bit black and white, single-page, 300 DPI, Group IV .TIFF
21                 images. Each .TIFF image produced shall be assigned a unique
22                 production/Bates number. Production numbers of the .TIFF images
23                 shall be sequential and the zero padding shall be consistent (for
24                 example, the production number should be 7 digits for all
25                 documents). The Parties shall number document families sequentially.
26          b.     Where appropriate or specifically requested, documents produced in
27                 color shall be single page, color .JPEG images.
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 1          c.    Spreadsheet documents (e.g., Excel, CSV, etc.) and any other files that
 2                are not easily converted to image format shall be produced in native
 3                format.    Any documents produced in native format will be
 4                accompanied by a placeholder .TIFF image indicating the document
 5                production/Bates number of the native document.             The native
 6                documents shall be named to match their respective document
 7                production/Bates number and shall be referenced by the corresponding
 8                database metadata load file containing the relative path and file name
 9                of that native document.
10          d.    Document level OCR/extracted text files (or OCR for non-ESI
11                documents) shall be produced to correspond to each produced
12                document. Each text file shall be named to match their respective
13                document production/Bates number and shall be referenced by the
14                corresponding database metadata load file containing the relative path
15                and file name of that text file.
16          Metadata: The Parties shall provide the following metadata for all ESI
17    produced, to the extent such metadata exists: Production Beginning Bates Number,
18    Production Ending Bates Number, Production Beginning Attachment, Production
19    Ending Attachment, Attachment Count, File Name, All Custodians, Custodian,
20    Original File Path, Page Count, File Extension, Email Subject, Date Sent, Time Sent,
21    Date Received, Time Received, Date Created, Time Created, Date Modified, Time
22    Modified, Author, From, To, CC, BCC, MD5 Hash Conversation Index, File Size
23    (bytes), Processing Time Zone, Confidentiality Designation, Relative Path to
24    Extracted Text/OCR Text File, Relative Path to Native File.
25          Load Files: All productions will include database load files in the format
26    requested by the receiving party (e.g. Concordance .DAT metadata load file and
27    Concordance .OPT image load file) which will include metadata, document
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 1    boundary and document family boundary information and relative paths to images,
 2    native files, and document level text files.
 3                 5.     Other Orders
 4          The Parties request that the Court enter a Scheduling Order under Federal
 5    Rule of Civil Procedure 16(b).
 6          Due to the confidential nature of certain documents that will be disclosed
 7    during discovery in this case, the Parties also request that a stipulated protective
 8    order be entered by the Court pursuant to Federal Rule of Civil Procedure 26(c).
 9    The Parties are working together to prepare a proposed protective order and will
10    jointly submit the protective order to the Magistrate Judge for approval.
11          At this time, the Parties do not anticipate any other orders the Court should
12    issue under Fed. R. Civ. P. 26(c), 16(b), or 16(c). The Parties respectfully reserve
13    the right to seek leave of Court to amend or deviate from these limits upon
14    agreement or for good cause.
15          L.     Discovery Cut-Off
16          The Parties separately propose a discovery cut-off for the completion of
17    discovery, including resolution of all discovery motions, as identified in the
18    Worksheet attached hereto as Exhibit A.
19          M.     Expert Discovery
20          The Parties separately propose expert discovery deadlines, including expert
21    disclosures, expert discovery cut-off, and expert discovery motions, as identified in
22    the Worksheet attached hereto as Exhibit A.
23          Additionally, the following communications and materials relating to expert
24    witnesses in this litigation shall not be the subject of discovery or inquiry at trial:
25    (1) drafts of any expert disclosures or analysis (including reports, declarations,
26    affidavits, or any other form of testimony); (2) communications, whether written or
27    oral, between or among any expert, consultant, and/or counsel for the party
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 1    retaining said expert; (3) notes or preparatory materials taken by or on behalf of
 2    any expert; (4) emails, lists, agendas, outlines, memoranda, presentations, and
 3    letters, whether in draft or any other form, that are provided to, or by, or on behalf
 4    of, any expert; and, (5) any other types of preliminary work product created by or
 5    on behalf of any expert. The foregoing exemptions shall not apply to any
 6    communications or materials, including those listed above, on which any expert, in
 7    any disclosure, expressly relies as a basis for any opinion at issue in this case,
 8    including support for a pre-filing investigation of any claim. Communications and
 9    materials exempt from discovery under this provision shall be treated as attorney
10    work product, and need not be listed on any privilege log.
11            N.    Settlement Conference / Alternative Dispute Resolution
12            The Parties have not yet discussed settlement of this case. In accordance
13    with the Court’s Notice to Parties of Court-Directed ADR Program (Dkt. 7), the
14    Plaintiff prefers ADR Procedure No. 3 (Private Mediation) and Defendant prefers
15    ADR Procedure No. 1 (district judge or magistrate judge proceeding).
16            O.    Trial Estimate
17            Should this case proceed to trial, the Parties estimate that the trial in this
18    matter will last 12–14 days. The Parties anticipate calling a collective total of
19    between 6–12 fact witnesses and 4–8 expert witnesses. The trial will be before a
20    jury.
21            P.    Trial Counsel
22            Should this case proceed to trial, the following attorneys will try the case:
23    On behalf of Plaintiff, Andrew Hansen of Fox Rothschild LLP and Steven Moore
24    of Pillsbury Winthrop Shaw Pittman LLP will serve as lead trial counsel. On
25    behalf of Defendant, Kyle L. Elliott (lead trial counsel) and Jaspal S. Hare of
26    Spencer Fane LLP, among others, will be trial counsel.
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 1             Q.      Independent Expert or Master
 2             The Parties do not believe this case is appropriate for the appointment of a
 3    master pursuant to Fed. R. Civ. P. 53 or an independent scientific expert.
 4             R.      Schedule Worksheet
 5             The Parties have submitted a completed Worksheet, reflecting proposed
 6    deadlines for this case, attached hereto as Exhibit A. The parties also request that
 7    the Court issue the following deadlines in this case. The parties brief arguments
 8    follows.
 9
10                           Event
            Note: Hearings shall be on Fridays at 10:00                     Pl(s)’ Date           Def(s)’ Date
11                             a.m.                                         mm/dd/yyyy            mm/dd/yyyy
12           Other dates can be any day of the week.
13        Deadline to Disclose Asserted Claims and
                                                                          08/29/2018              8/29/2018
          Infringement Contentions
14
          [Defendant’s Proposal] Deadline to Disclose
15        Dates of Conception and Reduction to Practice
16        and Complete Accompanying Document
                 1                                                        N/A                     8/29/2018
          Product
17

18        [Plaintiff’s Proposal] None
19        Deadline to Disclose Invalidity Contentions                     09/12/2018              11/16/2018
20        Deadline to Exchange Proposed Terms and
                                                                          09/26/2018              12/7/2018
          Claim Elements for Construction
21
          Deadline to Exchange Preliminary Claim
22
                                                                          10/10/2018              12/21/2018
          Constructions & Extrinsic Evidence
23        Deadline to Complete Claim Construction
                                                                          10/24/2018              1/4/2019
          Discovery
24

25

26    1
           Accompanying Document Production refers to production of documents and things required by Rule 3-2 of the
           Patent Local Rules for the Northern District of California and includes, inter alia, evidence related to
27
           conception and reduction to practice.
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 1
        Deadline to File Joint Claim Construction and
                                                           11/07/2018         1/18/2019
 2      Prehearing Statement
 3      Deadline to File Opening Claim Construction
                                                           11/21/2018         2/1/2019
        Brief
 4
        Deadline to File Responsive Claim
 5                                                         11/28/2018         2/15/2019
        Construction Brief
 6      Deadline to File Reply Claim Construction
                                                           12/05/2018         3/1/2019
 7      Brief
        Requested Date for Claim Construction
 8                                                         12/21/2018         3/15/2019
        Hearing
 9
        Deadline for Advice of Counsel Defense             02/01/2019         5/24/2019
10      Deadline for Final Infringement Contentions        02/08/2019         5/3/2019
11      Deadline for Final Invalidity Contentions          02/08/2019         5/17/2019
12

13
                Defendant’s Position: Defendant requests a later trial setting and less
14
         compressed schedule and the disclosure of Plaintiff’s Asserted Claims and
15
         Infringement Contentions to further include (1) the disclosure of the dates of
16
         conception and reduction to practice and (2) be accompanied by a production
17
         of documents as outlined in Rule 3-2 of the Northern District of California’s
18
         Local Patent Rules.
19
                Defendant’s Brief Arguments: This is a complex patent case involving
20
         three patents-in-suit. As is typical for a patent case, there will be a claim-
21
         construction phase, a fact-discovery phase (include third-party discovery
22
         related to prior art), and expert-discovery phase. Defendant proposes adding
23
         an additional four months to the normal 18-month trial setting to allow
24
         sufficient time for this case to proceed in an orderly fashion. In contrast,
25
         Plaintiff’s proposed schedule is compressed.
26
                In addition, Defendant proposes that Plaintiff be required to Disclose
27
         Dates of Conception and Reduction to Practice and Complete Accompanying
28

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 1
         Document Product. This information—related to the priority date that each
 2
         claim is entitled to—is critical for determining what is prior art and thus for
 3
         preparing Invalidity Contentions. Plaintiff presumably has already collected
 4
         and analyzed this information as part of its pre-suit investigation. There
 5
         appears to be no good reason why Plaintiff would contest this requirement.
 6
                 Plaintiff’s Position and Brief Arguments: Plaintiff believes that the
 7
         normal 18-month trial setting allows sufficient time for this case to proceed in
 8
         an orderly fashion, especially given the parties’ prior dispute at the ITC.
 9
         Further, Plaintiff opposes Defendant’s request related to the Northern District
10
         of California’s Local Patent Rules as the Central District of California does
11
         not impose such requirements and Defendant may obtain this information in
12
         the normal course of discovery. However, if the Court is inclined to grant
13
         Defendant’s request, Plaintiff proposes that any additional disclosure or
14
         document production should be governed by the Standing Patent Rules
15
         utilized by other judges in this district and that any additional disclosure or
16
         document production requirements should be reciprocal. Therefore, if
17
         Plaintiff is made to comply with S.P.R. 2.1 and 2.2, which govern
18
         infringement contentions and related productions, Defendant should be
19
         required to comply with S.P.R. 2.5 and 2.6, which relate to invalidity
20
         contentions and related productions.
21
            As requested in the Court’s Order Setting Scheduling Conference, the
22
      Parties will submit a separate stipulation and proposed order with respect to the
23
      deadlines listed in the chart above.
24
            S.     Other Issues
25
            The Parties do not anticipate any other issues affecting the status or
26
      management of the case at this time. Further, the Parties do not currently
27
      anticipate any issues regarding severance, bifurcation, or other ordering of proof.
28

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 1          T.    Magistrate Judge
 2          The Parties decline to consent to have a magistrate judge preside over all
 3    proceedings pursuant to 28 U.S.C. § 636.
 4

 5    Dated: June 22, 2018             FOX ROTHSCHILD LLP
 6
                                       By: /s/ Ashe P. Puri
 7                                         Ashe P. Puri
 8                                         Elizabeth A. Patton
                                          Attorneys for Plaintiff
 9
10

11
      Dated: June 22, 2018             SPENCER FANE LLP

12
                                       By: /s/ Jaspal S. Hare
13                                        Kyle L. Elliott
14                                        Jaspal S. Hare
                                         Attorneys for Defendant
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